Case 2:02-cr-20235-SH|\/| Document 78 Filed 09/01/05 Page 1 of 2 Page|D 61

also '[)/’/
IN THE UNITED STATES DISTRICT COURT B"'“W-\»-»- D-C~

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 SE
WESTERN DIVISION P““l PH 53 08

 

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UNITED STATES oF AMERICA, CLERK USWWCTCOW
MU@”NW$WV$
vs. No. 02-20235-Ma
02'20335-Ma

DARRELL LASHUN AUSTIN,

Defendant.

 

ORDER RESETTING RE-SENTENCING DATE

 

Before the court is the defendant’s August 30, 2005, motion
to reset the re-sentencing of Darrell Lashun Austin, which is

presently set for September 1, 2005. For good cause shown, the

motion is granted. The sentencing of defendant Darrell Lashun

Austin is reset to Wednesday, October 5, 2005, at 9:00 a.m.

It is so oRDERED this sl"\' day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This doctment entered on the docket sheet in , il cl
with Rule 55 andlol 32¢!)\ FRCrP on _M

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Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:02-CR-20235 Was distributed by faX, mail, or direct printing on
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April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

